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                                 FIFTH CIRCUIT
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                              May 07, 2024


Mr. Steven Shepard
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      No. 21-60626     Alliance for Fair Board Recruitment v. SEC
                       Agency No. 34-92590


Dear Mr. Shepard,
You must submit 22 paper copies of your brief required by 5th
Cir. R. 31.1 within 5 days of the date of this notice pursuant
to 5th Cir. ECF Filing Standard E.1

                                  Sincerely,
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